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7

8                    IN THE UNITED STATES DISTRICT COURT
9         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
     MONIQUE WHITTIKER                           Case No.: 2:20-cv-03690-SVW-E
11
                                                 NOTICE OF SETTLEMENT WITH
12                      Plaintiff,               DEFENDANT CAPITAL ONE BANK
                                                 (USA), N.A.
13
           v.
14

15

16
     CAPITAL ONE BANK (USA), N.A.

17

18                             Defendant.
19

20
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
21         PLEASE TAKE NOTICE THAT plaintiff Monique Whittiker and
22   defendant Capital One Bank (USA), N.A. have reached a settlement in principle of
23   the above captioned case and are in the process of documenting said settlement.
24   Plaintiff anticipates filing a dismissal of Capital One Bank (USA), N.A. within 35
25   days once the settlement is finalized.
26                                            Gale, Angelo, Johnson, & Pruett, P.C.
27   Dated: July 6, 2020                            /s/ Joe Angelo
                                                    Joe Angelo
28
                                                    Attorney for Plaintiff

                                     NOTICE OF SETTLEMENT - 1
